Case 1: 05- -C\/- -01069- .]DT- STA Document 18 Filed 05/25/05 Page 1 of 3 /Page|D 10
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IN THE UNITED STATES DISTRICT COURT y 5 4/?6) "“"
FoR THE wEsTERN nlsTRlcT oF TENNEssEE, EAsTERNDWlSr% .. 02

37800/{}5019-JDK

 

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W:LL|AM vADEN, vADEN FARMs, |NC., `»40,@- sr
MARY LEE vADEN by wlLLlAM vADEN as ' O/I-"
PoWER oF ATToRNEY and JERR¥ vADEN,
Plaintiffs,
V- No. 1-05-1069 - T.'An
BETsY WADDELL,

UN|ON PLANTERS BANK, N.A.,
UN|ON PLANTERS lNSURANCE AGENCY, |NC.,
and FlREN|AN’S FUND AGR|BUSINESS, |NC.,

Defendants.

 

 

ORDER GRANT|NG MOT|ON FOR EXTENS|ON OF TlME TO MOVE, PLEAD
OR OTHERW|SE RESPOND TO THE COMPLA|NT

 

For good cause shown, the |V|otion ofthe Defendants Betsy Wadde||, Union P|anters
Bank, N.A., and Union P|anters lnsurance Agency, |nc., for an extension to and including
June 30, 2005, to answer or otherwise plead to the Compiaint is granted.

|T |S SO ORDERED.

/,,__
. /A 0€-2¢-01’

UNITED STATES DlSTRlCT JUDGE OR

UN|TED STATES MAG{STRATE JUDGE

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Case 1:05-cv-01069-.]DT-STA Document 18 Filed 05/25/05 Page 2 of 3 Page|D 11

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This order was prepared by:`

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CERT|F|CATE OF SERVICE

The undersigned certifies that a true copy of this pleading or document was served
upon counsel for all parties by mailing postage prepaid or by deliveryto the person or office
of such counse|.

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This the 2§"‘| day of lVlay, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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Honorable J ames Todd
US DISTRICT COURT

